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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION

UNITED STATES OF AMERICA,
Case No. 3:19cr164
Plaintiff,
JUDGE WALTER H. RICE

vs.
KENT HATLEY COSEY

Defendant.

 

ORDER DELAYING EXECUTION OF SENTENCE

 

For good cause shown and at the specific request of the defendant, it is hereby ordered that
the defendant’s execution of sentence be delayed until on or after March 30, 2021. The United

States Marshal is to seek a designation for on or after March 30, 2021.

January 8, 2021 U fom Wwe

WALTER H. RICE
UNITED STATES DISTRICT JUDGE

Copies to:
Counsel of record
United States Marshal
